           Case 1:23-cv-00707-DII Document 42 Filed 09/01/23 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


 NATIONAL INFUSION CENTER
 ASSOCIATION et al.,

                     Plaintiffs,

           v.                                             Case No. 1:23-cv-00707

 XAVIER BECERRA, in his official capacity
 as Secretary of the Department of Health and
 Human Services, et al.,

                     Defendants.



                      DEFENDANTS’ REPLY IN SUPPORT OF THEIR
                       MOTION TO VACATE SCHEDULING ORDER
        Defendants filed a timely motion to dismiss 60 days after service of the complaint. See ECF

No. 39 (Defs.’ Mot.); Fed. R. Civ. P. 12(a)(2), (b). That motion raises threshold issues of jurisdiction

and venue, and should be decided at the outset. For that reason, Defendants filed a short scheduling

motion requesting that the Court pause further summary-judgment briefing while the Court

adjudicates Defendants’ motion to dismiss. In response, Plaintiffs filed a 10-page opposition and a

declaration and accompanying exhibit totalling an additional 18 pages. See ECF No. 41 (Pls.’ Opp’n.).
Because Plaintiffs request that the Court “expeditiously resolve” Defendants’ scheduling motion, id.

at 1, Defendants do not attempt to offer a point-by-point refutation of the many assertions raised in

Plaintiffs’ brief. But two points are worth clarifying.

        First, there can be no serious dispute that Defendants’ motion to dismiss was timely. Indeed,

Plaintiffs do not refute that, pursuant to Federal Rule of Civil Procedure 12(a)(2), any responsive

pleading was due on August 28, 2023—the date Defendants filed their motion. See Defs.’ Mot. In a

footnote, Plaintiffs nonetheless maintain that Defendants’ assertion regarding the timeliness of their

motion is “misplaced.” Pls.’ Opp’n at 6 n.2. Plaintiffs offer two reasons, neither of which has merit.
            Case 1:23-cv-00707-DII Document 42 Filed 09/01/23 Page 2 of 3




They first note that the parties previously “agreed that the Government need not file an answer,”

which Plaintiff interpreted to mean that the “government thus had no ‘deadline to answer or otherwise

respond to the complaint’ to meet.” Id. But if, as Plaintiffs maintain, there was simply no deadline by

which Defendants were required to file their motion to dismiss, that motion would not be tardy—

especially when it was filed within 60 days of service. Attempting to evade this conclusion, Plaintiffs

resort to claiming that Defendants’ “motion to dismiss was untimely” because of the parties’ previous

scheduling agreement. Id. But Plaintiffs cite no rule or provision of the scheduling order that would

render the motion untimely. Similarly, nothing in the parties’ joint scheduling proposal purported to
waive Defendants’ right to assert jurisdictional defenses, challenge venue, or timely identify any other

deficiencies in Plaintiffs’ complaint. See ECF No. 33 (agreeing “that this case presents legal questions

that can properly be resolved through dispositive motions, without the need for discovery,” and that

the parties “intend[ed] to file cross-motions for summary judgment,” but making no mention of

Defendants’ right to file a Rule 12 motion). Accordingly, because Defendants complied with Rule 12,

their motion to dismiss is timely. 1 And, for the reasons set forth in their scheduling motion, see ECF

No. 40, Defendants’ motion to dismiss should be adjudicated before the parties proceed with further

summary-judgment briefing.

        Second, there is no basis for the Court to entertain Plaintiffs’ suggestion to “strike or deny”

Defendants’ motion to dismiss. Pls. Opp’n at 1. As noted above, that motion was timely. And Plaintiffs

do not contend that the motion is without merit. See id. at 8 n.4 (addressing Defendants’ standing

argument but saying nothing of Defendants’ other jurisdictional argument or their assertion that venue

is improper here). To the extent Plaintiffs wish to argue that Defendants’ motion to dismiss should

be denied, they can do so in their forthcoming opposition to that motion, due on September 11, 2023.

        1
          The fact that Defendants’ motion to dismiss was timely distinguishes this case from most (if
not all) of those cited by Plaintiffs in which courts declined to amend a scheduling order. See, e.g., Ogden
v. Cozumel, Inc., No. A-18-CV-00358-DAE-SH, 2019 WL 5080370, at *1 (W.D. Tex. Oct. 10, 2019)
(rejecting plaintiff’s attempt to modify scheduling order and file motion for partial summary judgment
after “the deadline for dispositive motions [had] expired more than four months” earlier); R.J. Reynolds
Tobacco Co. v. FDA, No. 6:20-CV-00176, 2022 WL 17489170, at *11 (E.D. Tex. Dec. 7, 2022) (stating
that defendants “first objected to venue over 12 weeks after service of the complaint”).


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            Case 1:23-cv-00707-DII Document 42 Filed 09/01/23 Page 3 of 3




And, to the extent they assert there is a basis to strike that motion—and there is not—they should

request (and justify) that extraordinary relief in an actual motion. 2

        Contrary to Plaintiffs’ suggestion, a timely adjudication of the scheduling motion and the

motion to dismiss would facilitate—not frustrate—expeditious resolution of this matter, including

those jurisdictional defenses and venue objections raised in Defendants’ motion to dismiss.

Accordingly, for the reasons set forth above and for those described in Defendants’ scheduling

motion, ECF No. 40, additional merits briefing should be paused while the parties brief and the Court

evaluates Defendants’ motion to dismiss. Further, the Court should decline to entertain Plaintiffs’

procedurally improper request to “strike or deny” Defendants’ motion to dismiss.

Date: September 1, 2023                               Respectfully submitted,

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           Similarly, to the extent Plaintiffs are seeking a six-week extension of their deadline to respond
to Defendants’ motion to dismiss, see Pls.’ Opp’n at 10, they should set forth in a separate motion why
it is that they assert a month-and-a-half delay would “expedite resolution of this dispute,” id. at 1.


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